         1:16-cv-01335-HAB # 126           Page 1 of 2                                               E-FILED
                                                                  Wednesday, 07 August, 2019 04:19:38 PM
                                                                             Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

KOREY JONES, #R-27009,                       )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       No. 16-CV-1335
                                             )
SUSAN PRENTICE, et al.,                      )
                                             )
               Defendants.                   )

                               STIPULATION OF DISMISSAL

       Plaintiff, Korey Jones, by and through his attorney, and Defendants, Todd Punke and

William Zimmerman, by and through their attorney, Kwame Raoul, Attorney General for the State

of Illinois, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

dismissal of this action with prejudice. Plaintiff and Defendants agree as follows:

       1.      On March 28, 2019, the parties agreed to settle this matter.

       2.      Federal Rule of Civil Procedure 41(a)(1)(A)(ii) permits the parties to voluntarily

dismiss an action by signed stipulation.

       3.      This lawsuit shall be dismissed with prejudice and without leave to reinstate.

       4.      Plaintiff and Defendants shall bear their own attorney’s fees, costs, and expenses.

       Respectfully submitted,



 s/Nicholas G. Shepherd (with consent)____        s/JeremyC.Tyrrell__________________
 Nicholas G. Shepherd                             Jeremy C. Tyrrell, #6321649
 Attorney for Plaintiff                           Assistant Attorney General
                                                  Attorney for Defendants

 Dated:___8/7/19______________                    Dated:____8/7/19___________


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                       IN THE UNITED STATES DISTRICT COURT
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                                             )
               Plaintiff,                    )
                                             )
       v.                                    )      No. 16-CV-1335
                                             )
SUSAN PRENTICE, et al.,                      )
                                             )
               Defendants.                   )

                                CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2019, the foregoing document, Stipulation of Dismissal,
was electronically filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

                       Nicholas Shepherd            sheperd2@illinois.edu



                                                    Respectfully Submitted,

                                                    s/Jeremy C. Tyrrell
                                                    Jeremy C. Tyrrell, #6321649
                                                    Assistant Attorney General
                                                    500 South Second Street
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